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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 KEVIN POLLACK,

                                Plaintiff,

                -against-                                            ORDER
                                                                     23-CV-2376-KAM-SJB
 JODIE GORDON, FUSION MODELS BK LCC,

                                 Defendants,
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 BULSARA, United States Magistrate Judge:

        Plaintiff has filed a detailed motion to compel that seeks: (1) automatic

 disclosures required under Rule 26(a)—which have not been provided; (2) revised

 responses to document requests that do not contain boilerplate or general objections;

 (3) documents in a reasonably useable form, with Bates Numbers, and organized in a

 coherent manner; (4) and signed interrogatories and revised interrogatory responses.

 (Pl.’s Mot. to Compel (“Pl.’s Mot.”), Dkt. No. 33). The motion is granted in full with one

 exception.

        In opposition to the motion to compel, Defendants provided a page-long letter

 that fails to grapple with any substance of the motion and is largely incoherent. (Defs.’

 Letter in Opp’n to Pl.’s Mot., Dkt. No. 36). It provides no substantive reason or basis to

 deny the motion to compel. (See id.). And as such, the motion is granted as follows:

 Defendants must provide complete Rule 26(a) disclosures no later than October 17,

 2024. They must also provide revised responses to the Plaintiff’s document requests

 without generic or boilerplate objections and comply with the requirements of Rule 34.

 See generally Finkelstein v. Bical, No. 23-CV-00049, 2023 WL 9119575, at *1 (E.D.N.Y.

 Dec. 14, 2023). Revised responses and documents must be produced by November 1,
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 2024. It is not an appropriate response to indicate that the documents are in the

 possession of Plaintiff or to provide documents that are not organized (either by Bates-

 stamp or similar means).

        A verified interrogatory response must be produced by October 2, 2024. The

 Court declines to direct the submission of revised interrogatory responses. At best,

 Plaintiff’s objection is that it disagrees with the substance of the response proffered by

 Defendants. But an objection that a response is evasive is directed to the merits of the

 dispute: a disagreement about whether certain items exist, or which party is liable.

 These issues are more appropriately addressed in the context of depositions. The Court

 declines to order that Defendants issue responses tailored to Plaintiff’s theory of the

 facts. (E.g., Pl.’s Mot. at 5 (“This response is evasive because Fusion clearly had assets,

 even if Defendant Gordon did not list them.”). Nor can the Court evaluate a claim made

 by Plaintiff that the responses are “evasive or incomplete on their face.” Id. Only this

 aspect of the motion to compel is denied. Should Defendants fail to comply with this

 order, the Court will impose sanctions, including payment of fees and costs as necessary.



                                                  SO ORDERED.

                                                  /s/Sanket J. Bulsara September 17, 2024
                                                  SANKET J. BULSARA
                                                  United States Magistrate Judge

 Brooklyn, New York




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